Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 1 of 21 Page ID #:4




                   “Exhibit (A)”
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 2 of 21 Page ID #:5
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 3 of 21 Page ID #:6
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 4 of 21 Page ID #:7
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 5 of 21 Page ID #:8
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 6 of 21 Page ID #:9
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 7 of 21 Page ID #:10
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 8 of 21 Page ID #:11
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 9 of 21 Page ID #:12
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 10 of 21 Page ID #:13
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 11 of 21 Page ID #:14
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 12 of 21 Page ID #:15
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 13 of 21 Page ID #:16
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 14 of 21 Page ID #:17
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 15 of 21 Page ID #:18
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 16 of 21 Page ID #:19
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 17 of 21 Page ID #:20
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 18 of 21 Page ID #:21
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 19 of 21 Page ID #:22
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 20 of 21 Page ID #:23
Case 2:18-cv-10548-MWF-FFM Document 1-1 Filed 12/20/18 Page 21 of 21 Page ID #:24
